Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 1 of 34 PageID #: 6191




                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NEW YORK

 JOHN KOGUT,                                      )
                             Plaintiff,           )
                                                  )
                 -against-                        )
                                                  )
 THE COUNTY OF NASSAU, POLICE                     )
 COMMISSIONER DONALD KANE, POLICE                 )
 COMMISSIONER WILLIAM J. WILLETT (2005),          )
 POLICE COMMISSIONER JAMES LAWRENCE,              ) 06-CV-6695 (JS)(WDW)
 DETECTIVE SEAN SPILLANE (HEAD OF HOMICIDE        )
 1985), DETECTIVE DENNIS FARRELL (HEAD OF         )
 HOMICIDE 2005), CAROLANN HESSEMAN, AS            )
 EXECUTRIX FOR THE ESTATE OF JOSEPH VOLPE,        )
 DETECTIVE ROBERT DEMPSEY, DETECTIVE              )
 ALBERT MARTINO, DETECTIVE WAYNE                  )
 BIRDSALL, DETECTIVE MILTON G. GRUBER,            )
 DETECTIVE CHARLES FRAAS, DETECTIVE FRANK         )
 SIRIANNI, DETECTIVE HARRY WALTMAN, P.O.          )
 MICHAEL CONNAUGHTON, P.O. WILLIAM DIEHL,         )
 and JOHN DOES 1-5,                               )
                                                  )
                              Defendants.         )
                                                  )
                                                  )
 JOHN RESTIVO, DENNIS HALSTEAD, MELISSA           )
 LULLO, JASON HALSTEAD, TAYLOR HALSTEAD,          )
 and HEATHER HALSTEAD,                            )
                                                  )
                              Plaintiffs,         )
                                                  )
                  -against-                       )
                                                  )
 NASSAU COUNTY, CAROLANN HESSEMAN, AS             )
 EXECUTRIX FOR THE ESTATE OF JOSEPH VOLPE,        )
 in his individual capacity, ROBERT DEMPSEY,          06-CV-6720(JS)(WDW)
                                                  )
 in his individual capacity, FRANK SIRIANNI,      )
 in his individual capacity, MILTON GRUBER,       )
 in his individual capacity, HARRY WALTMAN        )
 in his individual capacity ALBERT MARTINO,       )
 in his individual capacity, CHARLIE FRAAS,       )
 in his individual capacity, THOMAS ALLAN         )
 in his individual capacity, RICHARD BRUSA,       )
 in his individual capacity, VINCENT DONNELLY,    )
 in his individual capacity, MICHAEL
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 2 of 34 PageID #: 6192




 CONNAUGHTON, in his individual capacity,              )
 WAYNE BIRDSALL, in his individual capacity,           )
 WILLIAM DIEHL, in his individual capacity,            )
 JACK SHARKEY, in his individual capacity,             )
 DANIEL PERRINO, in his individual capacity,           )
 ANTHONY KOZIER, in his individual capacity,           )
 Detective Sergeant CAMPBELL, (Shield #48),            )
 in his individual capacity, SEAN SPILLANE,            )
 in his individual capacity, RICHARD ROE               )
 SUPERVISORS #1-10, in their individual                )
 capacities,                                           )
                                                       )
                    Defendants.                        )




            PLAINTIFFS JOHN RESTIVO AND DENNIS HALSTEAD’S
                 MEMORANDUM OF LAW IN OPPOSITION
        TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT




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Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 3 of 34 PageID #: 6193




                                                        TABLE OF CONTENTS



 TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    i

 INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         1

 STANDARD . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2

 RELEVANT FACTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2

 ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     6

      I.     The Law Clearly Proscribed Defendants’ Unconstitutional                                                                      6
             Course of Conduct . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

             A. Defendants’ Selective Facts are Irrelevant and Misleading . . . . . . . . . . . . . . .                                   8

             B. The Police Duty Not to Suppress Brady/Giglio Material from Prosecutors Was                                                9
                Clearly Established . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                  1. The 1986 Trial . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     9

                  2. Post-Conviction, Post-Walker. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                13

      II. There is a Dispute of Material Fact as to Whether Defendants Conspired with Non-
          County Employees to Violate Plaintiffs’ Constitutional Rights . . . . . . . . . . .                                             15

             A. There is a Triable Dispute About Whether Defendants Conspired with Witnesses to
                Concoct False Statements . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  16

      III.        There is a Dispute of Material Fact as to Plaintiffs’ Monell Claim . . . . . . . . .                                    18

 CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       25
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 4 of 34 PageID #: 6194




                                              TABLE OF AUTHORITIES

                                                         Federal Cases

 Amnesty America v. Town of West Hartford, 361 F.3d 113 (2d Cir. 2004) .................................. 21

 Batista v. Rodriguez, 702 F.2d 393 (2d Cir. 1983) ....................................................................... 19

 Beck v. City of Pittsburgh, 89 F.3d 966 (3d Cir. 1996) ................................................................ 19

 Binder & Binder PC v. Barnhart, 481 F.3d 141 (2d Cir. 2007) ..................................................... 2

 Blake v. Race, 487 F. Supp. 2d 187 n.21 (E.D.N.Y. 2007) .......................................................... 11

 Bordanero v. McLeod, 871 F.2d 1151 (1st Cir. 1989) .................................................................. 25

 Boyd v. City of New York, 336 F.3d 72 (2d Cir. 2003) ................................................................... 4

 Brady v. Maryland, 373 U.S. 83 (1963) ................................................................................ passim

 Brown v. Bryan County, 219 F.3d 450 (5th Cir. 2000) ................................................................. 19

 Burge v. Parish of St. Tammany, 187 F.3d 452 (5th Cir. 1999) ................................................... 12

 Carter v. Harrison, 612 F. Supp. 749 n.5 (E.D.N.Y. 1985) ......................................................... 10

 Chepilko v. City of New York, No. 06-CV-5491 (ARR)(LB),
        2012 WL 398700 (E.D.N.Y. Feb. 6, 2012)....................................................................... 25

 Cooper v. Dupnik, 963 F.3d 1220 (9th Cir. 1992) .......................................................................... 7

 District Attorney’s Office v. Osborne, 557 U.S. 52 (2009)........................................................... 14

 Dunlop v. City of New York, No. 06 Civ. 0433(RJS),
       2008 WL 1970002 (S.D.N.Y. May 6, 2008) .................................................................... 15

 Fiacco v. City of Rensselaer, 783 F.2d 319 (2d Cir. 1986) .................................................... 19, 24

 Gentile v. County of Suffolk, 926 F.2d 142 (2d Cir. 1991) ........................................................... 19

 Giglio v. U.S., 405 U.S. 150 (1972) ................................................................................................ 9

 Goodwin v Metts, 885 F.2d 157 (4th Cir. 1989) ..................................................................... 12, 13

 Grandstaff v. City of Borger, 767 F.2d 161 (5th Cir. 1985) ......................................................... 23


                                                                   i
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 5 of 34 PageID #: 6195




 Griffin v. City of Opa-Locka, 261 F.3d 1295 (11th Cir. 2001) ..................................................... 24

 Haley v. City of Boston, 657 F.3d 39 (1st Cir. 2011).............................................................. 10, 13

 Harris v. City of Pagedale, 821 F.2d 499 (8th Cir. 1987) ............................................................ 24

 Henry v. County of Shasta, 132 F.3d 512 (9th Cir. 1997) ............................................................ 24

 Hilliard v. Williams, 516 F.2d 1344 (6th Cir. 1975)..................................................................... 12

 Hope v. Pelzer, 536 U.S. 730 (2002) .............................................................................................. 8

 In re Dana Corp., 574 F.3d 129 (2d Cir. 2009) .............................................................................. 2

 Jackler v. Byrne, 658 F.3d 225 (2d Cir. 2011 ..................................................................... 7, 11, 12

 Jean v. Collins (“Jean I”), 155 F.3d 701 (4th Cir. 1998), rev’d, 526 U.S. 1142 (1999) ............. 13

 Jean v. Collins (“Jean II”), 221 F.3d 656 (4th Cir. 2000) ........................................................... 13

 Jeffes v. Barnes, 208 F.3d 49 (2d Cir. 2000) ................................................................................ 19

 Kyles v. Whitley, 514 U.S. 419 (1995) .................................................................................... 12, 13

 Limone v. Condon, 372 F.3d 39 (1st Cir. 2004) ............................................................................. 8

 Limone v. U.S., 271 F. Supp. 2d 345 (D. Mass. 2003) ................................................................... 7

 Miranda v. Arizona, 384 U.S. 436 (1966) .......................................................................... 7, 21, 22

 Monell v. Dept. of Soc. Servs., 436 U.S. 658 (1978) ............................................................. passim

 Mooney v. Holohan, 294 U.S. 103 (1935) ................................................................................ 9, 18

 Newsome v. McCabe, 256 F.3d 747 (7th Cir. 2003) ..................................................................... 12

 O’Brien v. Nat’l. Gypsum Co., 944 F.2d 69 (2d Cir. 1991)............................................................ 2

 Okin v. Village of Cornwall-On-Hudson Police Dept., 577 F.3d 415 (2d Cir. 2009) ........... passim

 Olsen v. Correiro, 189 F.3d 52 (1st Cir. 1999)............................................................................. 12

 Pangburn v. Culbertson, 200 F.3d 65 (2d Cir. 1999) ............................................................. 16, 18

 Parrish v. Luckie, 963 F.2d 201 (8th Cir. 1992) ........................................................................... 24



                                                                  ii
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 6 of 34 PageID #: 6196




 Pierce v. Gilchrist, 359 F.3d 1279 (10th Cir. 2004) ..................................................................... 12

 Pina v. Henderson, 586 F. Supp. 1452 (E.D.N.Y. 1984),
         rev’d on other grounds, 752 F.2d 47, 50 (2d Cir. 1985)................................................... 10

 Pyle v. Kansas, 317 U.S. 213 (1942) ........................................................................................ 9, 18

 Rounseville v. Zahl, 13 F.3d 625 (2d Cir. 1994) ........................................................................... 16

 Ricciuti v. N.Y.C. Trans. Auth., 941 F.2d 119, 123 (2d Cir. 1991) .............................................. 25

 Rule v. Brine, Inc., 85 F.3d 1002 (2d Cir. 1996) ............................................................................ 2

 Russo v. City of Bridgeport, 479 F.3d 196 (2d Cir. 2007) .............................................................. 8

 Saucier v. Katz, 533 U.S. 194 (2001) ............................................................................................. 9

 Sorlucco v. NYPD, 971 F.2d 864 (2d Cir. 1992) .......................................................................... 22

 Turpin v. Mailet, 619 F.2d 196 (2d Cir. 1980) ............................................................................. 24

 U.S. v Gaviria, 804 F. Supp. 476 (E.D.N.Y. 1992) ...................................................................... 18

 U.S. v. Henry, 325 F.3d 93 (2d Cir. 2003) .................................................................................... 16

 U.S. v. Marrapese, 486 F.2d 918 (2d. Cir. 1973) ......................................................................... 16

 U.S. v. Morell, 524 F.2d 550 (2d Cir. 1975) ................................................................................. 10

 U.S. v. Sabhnani, 599 F.3d 215 (2d Cir. 2010) ............................................................................. 16

 U.S. v. Villegas, 899 F. 2d 1324 (2d Cir. 1990) ............................................................................ 18

 Vann v. City of New York, 72 F.3d 1040 (2d Cir. 1995) ......................................................... 20, 23

 Vineyard v. County of Murray, 990 F.2d 1207 (11th Cir. 1993) .................................................. 19

 Walker v. City of New York, 974 F.2d 293 (2d Cir. 1992) ..................................................... passim

 Wechsler v. Hunt Health Systems, Ltd., No. 94 Civ. 8294 (PKL),
       1999 WL 672902 (S.D.N.Y. Aug. 27, 1999) ...................................................................... 4

 Wedra v. Thomas, 671 F.2d 713 (2d Cir. 1982) ........................................................................... 10

 Whitlock v. Brueggemann, --- F.3d ---, 2012 WL 1939906 (7th Cir. May 30, 2012) .................. 14



                                                                 iii
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 7 of 34 PageID #: 6197




 Williams v. City of Saginaw, Nos. 00–10241–BC, 00–10244–BC,
        2002 WL 1798907 (E.D. Mich. Aug. 6, 2002) ................................................................. 18

 Wilson v. Lane, 526 U.S. 603 (1999) .............................................................................................. 9

 Woodman v. WWOR-TV, Inc., 411 F.3d 69 (2d Cir. 2005) .......................................................... 25

 Zahra v. Town of Southold, 48 F.3d 674 (2d Cir. 1995) ............................................................... 19

 Zahrey v. City of New York, No. 98 Civ. 4546 (DCP)(JCF),
        2009 WL 54495 (S.D.N.Y. Jan. 7, 2009) ……………………………………………….18

 Zahrey v. Coffee, 221 F.3d 342 (2d Cir. 2000) ............................................................................. 18

                                                               State Cases

 Haynes v. City of New York, 815 N.Y.S.2d 143 (2d Dep’t 2006)................................................... 7

 People v. Evans, 417 N.Y.S.2d 99 (2d Dept. 1979) ..................................................................... 21

 People v. Russo, 486 N.Y.S.2d 769 (2d Dep’t. 1985) .................................................................. 11

 People v. Saddy, 445 N.Y.S.2d 601 (1981) .................................................................................. 11

 People v. Valle, 469 N.Y.S.2d 305 (N.Y. Co. Ct. (Nassau County) 1983 .................................... 21


                                                             Federal Rules

 Fed. R. Civ. P. 56(c) ....................................................................................................................... 2




                                                                       iv
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 8 of 34 PageID #: 6198




                                            INTRODUCTION

           It is undisputed that there are triable issues of material fact as to the heart of plaintiff John

 Restivo and Dennis Halstead’s claims. That is, defendants concede there is ample evidence for a

 jury to decide that both men were indicted, tried and convicted of a horrible rape/murder they did

 not commit on the basis of evidence fabricated by the Nassau County Police Department

 defendants—hairs planted in the alleged abduction vehicle, John Restivo’s blue van, and false

 witness statements. Defendants further concede a jury could find plaintiffs spent 18 years of

 wrongful imprisonment while deprived the benefit of material exculpatory and impeachment

 information the NCPD defendants suppressed from prosecutors, including the truth about

 defendants’ own misconduct as well as a lead indicating Theresa Fusco’s killer had not used

 Restivo’s van, but rather stolen John French’s car and, when he abandoned it, left the striped

 jeans Fusco had been wearing when she disappeared in the car, inside-out, stuffed under the seat.

           But because defendants’ motion for partial summary judgment largely ignores the many

 claims they concede must go to the jury, the context for the few claims on which they do move is

 lost. First, defendants contend that they have qualified immunity for the claim under Brady v.

 Maryland, 373 U.S. 83 (1963), arguing it was not clearly established by 1986 that their

 suppression of evidence was unlawful. But qualified immunity is a nonissue given both the pre-

 existing Supreme Court and Second Circuit law and the egregious course of misconduct in this

 case, which continued for years after plaintiffs’ convictions even as it became clear that there

 was no credible evidence of their guilt. Second, defendants claim plaintiffs have failed to

 establish evidence supporting the § 1983 conspiracy and municipal liability claims, but ignore

 the evidence plaintiffs have marshaled. The motion should be denied in full.1



 1
     Plaintiffs join in the arguments of co-plaintiff John Kogut in his separate opposition brief.
                                                      1
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 9 of 34 PageID #: 6199




                                            STANDARD

        Summary judgment is improper unless defendants show there is no genuine issue of

 material fact and they are entitled to judgment as a matter of law. Fed. R. Civ. P. 56 (c); Binder

 & Binder PC v. Barnhart, 481 F.3d 141, 148 (2d Cir. 2007). In considering defendants’ motion

 the Court may not make credibility determinations or weigh the evidence, but instead “is

 required to draw all factual inferences in favor of, and take all factual assertions in the light most

 favorable to,” the plaintiffs. Rule v. Brine, Inc., 85 F.3d 1002, 1011 (2d Cir. 1996). Since “a jury

 is free to believe part and disbelieve part of any witness’s testimony”,“the court considering a

 summary judgment motion must disregard all evidence favorable to the moving party that the

 jury is not required to believe.” In re Dana Corp., 574 F.3d 129, 152 (2d Cir. 2009) (internal

 citations and quotations omitted, emphasis in original). Furthermore, “it is beyond any doubt that

 circumstantial evidence alone may suffice to prove adjudicative facts.” O’Brien v. Nat’l. Gypsum

 Co., 944 F.2d 69, 72 (2d Cir. 1991). “All reasonable inferences must be construed in [plaintiffs’]

 favor, and if there is any evidence in the record from any source from which a reasonable

 inference in [plaintiffs’] favor may be drawn, [defendants] simply cannot obtain a summary

 judgment.” Binder & Binder PC, 481 F.3d at 148 (internal quotation and citation omitted).

                                        RELEVANT FACTS

        The facts, considered in the light most favorable to plaintiffs, establish the following2:

        Sixteen year-old Theresa Fusco was last seen alive at approximately 9:47 p.m. on

 November 10, 1984, leaving Hot Skates roller rink in Lynbrook, NY; she was wearing striped



 2
   Many of these facts establish relevant context for the motion but, because they relate to claims
 that defendants concede must go to the jury, have not been included in either Plaintiffs’
 Response to Defendants’ Statement of Undisputed Facts (abbreviated D) or Plaintiffs’ Statement
 of Disputed Facts (abbreviated P). Should the Court wish to see evidentiary support for any of
 these facts, plaintiffs will be happy to provide it.
                                                   2
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 10 of 34 PageID #: 6200




  blue jeans. D2,3. On December 5, 1984, her naked body was found a short distance away

  alongside the railroad tracks. D9. She had been raped and strangled by a ligature. Id. The

  foremost lead NCPD officers investigated in the next few days related to the car of John French.

  D27. Around the same time Miss Fusco disappeared, only half a mile away, John French’s car

  was stolen. D5,6. When he located it a week later, the windshield was cracked (consistent with a

  struggle), the rearview mirror was broken off (consistent with mirrored glass found near Fusco’s

  body), rope from the car was missing (consistent with the ligature strangulation), and the license

  plates had been switched with plates stolen from another car. D7,14. Most significantly, John and

  his sister Lori found a pair of girl’s striped jeans, inside out, stuffed under the passenger seat; 16-

  year-old Lori thought they looked like they belonged to someone her age. D8. NCPD officers

  took this lead very seriously, impounding French’s car for forensic analysis and questioning John

  and Lori about the jeans, but the forensic investigation stalled out; John had thoroughly cleaned

  the car after recovering it, and the Lynbrook police, who received the jeans from the Frenches,

  threw them away. D11–22,27. Independently, witness Debra Smith called to report hearing a

  scream near where Fusco’s body was found and seeing a car she later identified as French’s

  parked below the railway trestle. D17–22. Defendants never eliminated a connection between the

  Fusco rape/murder and French’s car, but stopped investigating this lead. D27.

         After several months with no progress in the investigation, NCPD officers were

  increasingly relying on pressuring witnesses in an attempt to generate leads. One such witness

  was Harry Smyle, a Vietnam vet with PTSD taking narcotic medications for serious back pain,

  who under nine hours of interrogation by NCPD officers told them that John Restivo had made a

  suspicious statement to him about the Fusco murder. P2–16. Restivo, who is innocent of any

  involvement in the Fusco murder, never made the statement Smyle attributed to him. P7. Volpe



                                                    3
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 11 of 34 PageID #: 6201




  and Dempsey then picked up Restivo, interrogated him for approximately 24 hours and

  physically assaulted him, only permitting him to leave after he had signed a false statement

  Volpe had written out for him claiming that he had heard Dennis Halstead make admissions

  about the Fusco murder. P59. Halstead is also completely innocent, and never made any such

  admissions. P35. Once he was released, Restivo immediately told his attorney, Ted Robinson,

  about the abuse; Robinson photographed Restivo’s injuries and complained repeatedly to

  everyone in the Nassau County power structure about this mistreatment. P60–64. Robinson’s

  allegations were never investigated, but the prosecution never used the statement elicited from

  Restivo either in the grand jury that indicted him and Mr. Halstead or at trial. P63–66.

         At that point, the police, by their own account had “a very weak, if nonsexist[e]nt case

  against Halstead and Restivo.” D28. After the police seized John Restivo’s blue van, which they

  theorized had been used by Restivo, Halstead and John Kogut to abduct and rape Fusco, Volpe

  planted several of the hair standards that had been taken from Fusco’s body at autopsy among the

  hairs that had been collected from Restivo’s van. The hair examiner’s subsequent report that

  hairs allegedly found in Restivo’s van were consistent with Theresa Fusco’s was the only

  physical or forensic evidence ever connecting plaintiffs to the crime. On the basis of the planted

  hairs and the coerced Smyle statement, Restivo and Halstead were indicted.3

         Before and after the indictment, NCPD officers continued to drum up statements from

  jailhouse informants or drug-addicted acquaintances of plaintiffs to support the prosecution,

  3
    In response to contention interrogatories, defendants list several other pieces of evidence that
  they claim supported probable cause, including notably John Kogut’s confession and John
  Restivo’s “failing” of a polygraph. PX382 ¶¶ 21, 22. See Wechsler v. Hunt Health Systems, Ltd.,
  No. 94 Civ. 8294 (PKL), 1999 WL 672902, at *2 (S.D.N.Y. Aug. 27, 1999) (contention
  interrogatory responses are binding judicial admissions). However, evidence that is inadmissible
  may not provide probable cause to prosecute. See Boyd v. City of New York, 336 F.3d 72, 77 (2d
  Cir. 2003). Because both items were inadmissible, neither Kogut’s confession nor Restivo’s
  polygraph results were ever introduced against Halstead or Restivo at the grand jury or trial.
                                                   4
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 12 of 34 PageID #: 6202




  using either coercive means, promises of benefits, or both. P2–43. This included coercive tactics

  by both Volpe and Dempsey, who each later coerced admittedly false confessions in other cases.

  P71–87. The evidence against Restivo and Halstead at trial included the hair evidence, coerced

  testimony from Harry Smyle and Carl Pozzini about ambiguous statements they had allegedly

  overheard, and false testimony from Brian O’Hanlon, Samuel Newsome and Steven Dorfman—

  induced by defendants—about admissions Halstead and Restivo had allegedly made while

  incarcerated. P2–16,23–43. Neither prosecutors nor defense counsel ever heard about the

  exculpatory French car/striped jeans lead because Volpe intentionally suppressed it. D31. Based

  on this fabricated and coerced inculpatory evidence, and in the absence of the suppressed

  exculpatory evidence, Restivo and Halstead were wrongfully convicted.

         In 1993-95, by agreement with the NCDA, three labs performed then-state-of-the-art DQ

  Alpha testing on male DNA from samples collected from Fusco’s vagina at autopsy. P89. As

  defendants admit, testing by two of the labs excluded all three men; testing by the third lab was

  less probative, excluding Halstead entirely but including Restivo and Kogut, along with

  approximately 95% of the U.S. population, as a potential source of the DNA. P90.

         Restivo and Halstead filed CPL § 440 motions for a new trial based on these DNA

  results, and the NCDA seriously considered consenting to the motion. P91–92. D.A. Denis

  Dillon asked Appeals Bureau Chief Peter Weinstein and Deputy Chief Bruce Whitney to

  recommend a course of action. P93. The result, a 17-page memo, catalogued the many problems

  and weaknesses in the evidence used against Restivo and Halstead at trial and urged Dillon to

  consent to the new trial motion. P94–98. But because Volpe continued to actively suppress it,

  Weinstein knew nothing about the French car/striped jeans lead or any other undisclosed

  exculpatory information, much less evidence of Volpe’s deliberate misconduct; if he had, he



                                                 5
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 13 of 34 PageID #: 6203




  would have included it in the memo and expected it to be weighed in the DA’s evaluation of the

  motion for a new trial. P99. Unaware of this evidence, the NCDA opposed the motion and it was

  denied. The prosecution continued, and plaintiffs remained in prison for 7 more years. P100.

         Finally, in 2001–2003, new DNA testing was done using the more discriminating STR

  technique. D42. After this testing, too, excluded all three men, the NCDA consented to vacate

  the convictions and, ultimately, dismiss the indictments against Restivo and Halstead. D42,44.

  When dismissing the indictment, ADA Fred Klein noted that the DNA “basically disprov[es] our

  theory of the case from the only direct evidence we had, which was these jail-house admissions”

  and that they had nothing but speculation to explain the DNA exclusions. D44.

                                           ARGUMENT

  I.     The Law Clearly Proscribed Defendants’ Unconstitutional Course of Conduct

         Defendants make no factual or legal challenge to plaintiffs’ claims that defendants

  maliciously prosecuted them or that they deprived them of a fair trial by fabricating evidence

  against them. It is clear that those claims must go to the jury.4 Nor do defendants dispute that a

  jury could find that they intentionally withheld exculpatory evidence—most notably, the French

  car/striped jeans lead—from the prosecution, and that this evidence was material. The only

  challenge defendants make to any of plaintiffs’ core claims is their narrow assertion that

  defendants are entitled to qualified immunity for their intentional suppression of this exculpatory

  evidence, because they claim it was not clearly established by 1986 that such conduct was

  unconstitutional. (D.E. 223 at 5.)5 But both Supreme Court and Second Circuit precedent made



  4
    This includes Counts I and VIII (federal and state malicious prosecution), Count II (fabrication
  of evidence) and Count V (supervisory liability) of plaintiffs’ Amended Complaint, Case No.
  2:06 Civ. 6720 (JS)(WDW), D.E. 33.
  5
    The other “theories of liability” for which defendants claim immunity—failure to conduct a
  constitutionally adequate investigation (D.E. 223 at 5-7) and failure to provide warnings pursuant
                                                  6
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 14 of 34 PageID #: 6204




  plain well before 1986 that defendants’ suppression of evidence was unlawful, precluding

  qualified immunity. See Jackler v. Byrne, 658 F.3d 225, 242-43 (2d Cir. 2011).

          Moreover, defendants’ selective focus on the suppression of evidence theory artificially

  obscures the full course of unconstitutional conduct alleged here, allegations defendants

  acknowledge a jury must hear: the deliberate planting of evidence, the fabrication and coercion

  of witness statements, and active cover-ups of defendants’ own misconduct, causing both the

  initiation and continuation of a prosecution lacking in probable cause and an unfair trial. In

  another situation, like this one, in which defendants “miss the forest for the trees,” a federal

  district court in Massachusetts rejected officers’ claim of qualified immunity for a failure to

  disclose Brady evidence in 1967 (a mere 4 years after Brady itself), holding “[t]he defendants’

  argument draws the issue much too narrowly. . . . It is, in a word, ridiculous to suggest that, at

  any time in this nation’s history, a reasonable law enforcement officer would have thought it

  permissible to frame somebody for a crime he or she did not commit.” Limone v. U.S., 271 F.

  Supp. 2d 345, 349, 365-66 (D. Mass. 2003). The First Circuit affirmed, calling the question

          easy pickings. . . Although constitutional interpretation occasionally can prove recondite,
          some truths are self-evident. This is one such: if any concept is fundamental to our
          American system of justice, it is that those charged with upholding the law are prohibited
          from deliberately fabricating evidence and framing individuals for crimes they did not
          commit.

  Limone v. Condon, 372 F.3d 39, 44-45 (1st Cir. 2004); see also Hope v. Pelzer, 536 U.S. 730,

  739 (2002) (“[T]he salient [qualified immunity] question . . . is whether the state of the law . . .


  to Miranda v. Arizona, 384 U.S. 436 (1966) during custodial interrogation (D.E. 223 at 15-17)—
  are not plaintiffs’ theories of liability at all. Rather, the failures in the investigation are evidence
  relevant to the malicious prosecution claims, see, e.g., Haynes v. City of New York, 815 N.Y.S.2d
  143, 146 (2d Dep’t 2006) (presumption of probable cause may be overcome by proof “police
  failed to make further inquiry when a reasonable person would have done so”) and the failures to
  warn are evidence relevant to claims of coercing and fabricating witness statements, see, e.g.,
  Cooper v. Dupnik, 963 F.3d 1220, 1248 (9th Cir. 1992) (en banc), each of which defendants
  concede must be tried.
                                                     7
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 15 of 34 PageID #: 6205




  gave [defendants] fair warning that their alleged treatment of [plaintiffs] was unconstitutional.”);

  Russo v. City of Bridgeport, 479 F.3d 196, 212 (2d Cir. 2007) (denying qualified immunity

  where “the proffered evidence would support a jury finding that [defendants] acted intentionally

  in hiding exculpatory evidence and misleading [plaintiff]”; the question is if “reasonable officers

  could disagree about whether conduct is illegal, not . . .[if] they know the precise constitutional

  reason why it is not lawful”) (emphasis in original). This is not a case for qualified immunity.

         A.      Defendants’ Selective Facts are Irrelevant and Misleading

         Given defendants’ concession that there is a triable issue of fact as to whether Volpe

  suppressed material exculpatory evidence, D.E. 223 at 7, their four-page digression into the facts

  is a red herring. It is also deeply misleading. For example, they describe the French car/striped

  jeans lead dismissively as “a lead that didn’t pan out that had nothing to do with John Restivo,

  Dennis Halstead or John Kogut,” D.E. 223 at 10, ignoring that Volpe specifically admitted that

  this lead was Brady material that he had an obligation to disclose to the prosecutor so it would be

  provided to the defense. D31. They quote initial prosecutor Edward McCarty (who admits he

  never heard about the French car, striped jeans, or Debra Smith during his involvement in the

  case) on why, hypothetically, he might have discounted the lead, D.E. 223 at 10, but ignore trial

  prosecutor Klein’s testimony that, if the striped jeans in the French car were Fusco’s, to call it a

  big deal would be an “understate[ment].” D26. They discuss credibility issues with Debra Smith

  at her 2011 deposition, D.E. 223 at 9, but ignore that her evidence is completely independent of

  the French car/striped jeans lead, which came from John and Lori French and is Brady material

  on its own; that there is no record anywhere in the police file of any concerns with Smith’s

  credibility as of 1984, as there should have been had that been an issue when the police had her

  identify John French’s car; and that Volpe himself testified that he viewed Smith as a “very



                                                   8
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 16 of 34 PageID #: 6206




  interesting” lead. D23. If there were really any question whether a jury could find that defendants

  deprived plaintiffs of a fair trial by intentionally withholding exculpatory evidence, defendants

  would have moved for summary judgment on that basis. They did not.

         B.      The Police Duty Not to Suppress Brady/Giglio Material from Prosecutors
                 Was Clearly Established

                 1.      The 1986 Trial

         Defendants are not entitled to qualified immunity for their suppression of this exculpatory

  evidence. Qualified immunity does not apply if reasonable officers were “on notice [that] their

  conduct [was] unlawful,” Saucier v. Katz, 533 U.S. 194, 206 (2001). The operative question is

  whether, based on any “cases of controlling authority in their jurisdiction at the time of the

  incident” or “a consensus of cases of persuasive authority,” Wilson v. Lane, 526 U.S. 603, 617

  (1999), reasonable officers would know better. Controlling authority includes cases from the

  Supreme Court and the Second Circuit existing at the time of the violation. Okin v. Village of

  Cornwall-On-Hudson Police Dept., 577 F.3d 415, 433 (2d Cir. 2009).

         That a reasonable police officer knew in 1986 that he could not suppress exculpatory

  evidence can hardly be disputed. The Supreme Court has long held that officials who suppress

  material exculpatory or impeachment evidence violate criminal defendants’ Fourteenth

  Amendment right to a fair trial. Brady v. Maryland, 373 U.S. 83, 87 (1963); Mooney v. Holohan,

  294 U.S. 103, 112-13 (1935) (prosecuting authorities’ use of perjured testimony and deliberate

  suppression of impeachment information is a due process violation); Pyle v. Kansas, 317 U.S.

  213, 215-16 (1942) (holding that “allegations that [the petitioner’s] imprisonment resulted from .

  . . the deliberate suppression by [state] authorities of evidence favorable to him . . . sufficiently

  charge a deprivation of rights guaranteed by the Federal Constitution”); see also Haley v. City of

  Boston, 657 F.3d 39, 50 (1st Cir. 2011) (“Context makes it apparent that [Pyle’s] holding

                                                   9
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 17 of 34 PageID #: 6207




  encompasses the misconduct of police officers.”). Volpe and other defendants admittedly knew

  in 1986 they had a Brady obligation to disclose exculpatory information to prosecutors. D30.

         In arguing, despite these admissions, that this established duty did not extend to police

  officers, defendants notably ignore pre-1986 Second Circuit case law on this issue. But the rule

  then in place in the Second Circuit was clear: suppression of evidence by officers sufficiently

  involved in a case to be considered an “arm of the prosecution” violated Brady. See Wedra v.

  Thomas, 671 F.2d 713, 717 n.1 (2d Cir. 1982) (“[T]he knowledge of a police officer may be

  attributable to the prosecutor if the officer acted as an arm of the prosecution”); U.S. v. Morell,

  524 F.2d 550, 555 (2d Cir. 1975) (finding that even if A.U.S.A. was not aware of suppressed

  evidence, agent who actively participated in investigation could be deemed “arm of the

  prosecutor” in considering whether suppression was Brady violation); see also Carter v.

  Harrison, 612 F. Supp. 749, 756 n.5 (E.D.N.Y. 1985) (“There is little doubt that police officers

  have a Brady obligation to disclose exculpatory information.”). Indeed, as Judge Weinstein

  identified in May 1984 (before plaintiffs’ arrests): “The Second Circuit rule is that information in

  the hands of someone who can be viewed as ‘the arm of the prosecutor’ triggers the application

  of the Brady requirement of disclosure.” Pina v. Henderson, 586 F. Supp. 1452, 1456–57

  (E.D.N.Y. 1984) (finding that because “the police officer did testify in Pina’s trial and was the

  investigating officer[, h]e qualifies as an arm of the prosecution and his information must be

  attributed to the prosecutor.”), rev’d on other grounds, 752 F.2d 47, 50 (2d Cir. 1985).6 That the

  cases defendants cite subsequently made plain the Brady duty applied even more broadly to all




  6
    There can be no dispute that Volpe, as the lead detective who took responsibility for disclosing
  investigative materials to the prosecutor and testified in both the grand jury and at trial, was an
  arm of the prosecution. D10.
                                                  10
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 18 of 34 PageID #: 6208




  police officers is irrelevant, as there can be no doubt defendants’ conduct was unlawful under

  both the then-existing standard and the later law. See Jackler, 658 F.3d at 243.7

         Rather than address any of this pre-existing law, defendants discuss only one Second

  Circuit case—Walker v. City of New York, 974 F.2d 293 (2d Cir. 1992)—and speciously reason

  backwards that since Walker plainly established the unconstitutionality of police officers’

  suppression of exculpatory evidence from prosecutors, it must have been unclear before 1992.

  But what Walker clarified was that “police satisfy their obligations under Brady when they turn

  exculpatory evidence over to the prosecutors,” 974 F.2d at 299 (emphasis added), not that police

  have obligations under Brady in the first place. In other words, Walker established a limitation

  on the pre-existing Brady duty on police officers recognized in the Second Circuit: that it only

  required police to produce evidence to the prosecution, not directly to the defense. As Judge

  Bianco held in rejecting a claim to qualified immunity based on a police officer’s 1990

  suppression of exculpatory evidence from the prosecution:

         [Walker] dealt with an incident that occurred in 1971, [and] the Second Circuit
         recognized that Brady did create a disclosure obligation on the police, but that such
         obligation was satisfied where police shared all exculpatory evidence with the
         prosecutors. Thus, the Second Circuit recognized that before 1990 [indeed as early as
         1971], there was a duty on the part of officers to disclose evidence to prosecutors.

  Blake v. Race, 487 F. Supp. 2d 187, 216 n.21 (E.D.N.Y. 2007) (citation omitted).8



  7
    New York state courts also recognized this rule prior to the suppressions at issue here. See,
  e.g., People v. Russo, 486 N.Y.S.2d 769, 771 (2d Dep’t. 1985) (“[T]he police have a duty to
  disclose exculpatory material in their control” if that evidence is material); People v. Saddy, 445
  N.Y.S.2d 601, 604 (1981) (“In order to safeguard the defendant’s rights under Brady . . . law
  enforcement officials . . . are under a duty to diligently preserve all materials which may be
  subject to disclosure.”).
  8
    And even were one to credit defendants’ reading of Walker that the 1992 decision created
  ambiguity about what had been the law in the past (a reading unsupported by either Walker or
  the prior Second Circuit law), “[a]ny uncertainty introduced by [cases] . . . which were not
  decided until after defendants’ [conduct] . . . would not entitle defendants to qualified immunity
  because the availability of that defense depends on whether the unlawfulness of their conduct
                                                  11
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 19 of 34 PageID #: 6209




         Furthermore, defendants improperly attempt to paint the extension and clarification of

  one aspect of the law on police duties under Brady—the no-fault standard that applies in criminal

  prosecutions—as establishing the basic duty. See Kyles v. Whitley, 514 U.S. 419, 432 (1995)

  (suppression of favorable material evidence is Brady violation “irrespective of the good faith or

  bad faith of the prosecution”) (quoting Brady, 373 U.S. at 87). But the core duty at issue here—

  the prohibition on the deliberate or reckless suppression of evidence—existed long before Kyles;

  as a result, courts around the country have repeatedly denied qualified immunity to officer-

  defendants in § 1983 suits alleging pre-1986 suppressions of evidence. See Olsen v. Correiro,

  189 F.3d 52, 56 (1st Cir. 1999) (upholding § 1983 action against police officers for failing to turn

  over exculpatory evidence in 1985); Goodwin v Metts, 885 F.2d 157, 162 (4th Cir. 1989) (ruling

  on police actions in 1984 that “police officer who withholds exculpatory information from the

  prosecutor can be liable under . . . § 1983”); Burge v. Parish of St. Tammany, 187 F.3d 452, 480

  n.11 (5th Cir. 1999) (ruling that Brady obligations extended to police officers since 1967);

  Hilliard v. Williams, 516 F.2d 1344, 1350 (6th Cir. 1975) (upholding § 1983 Brady cause of

  action against state police officer who withheld exculpatory evidence in 1970 and “played an

  active role in the prosecution”), vacated on other grounds, 424 U.S. 961 (1976); Newsome v.

  McCabe, 256 F.3d 747, 752-53 (7th Cir. 2003) (“[W]as it clearly established in 1979 and 1980

  that police could not withhold from prosecutors exculpatory information . . . ? The answer is

  yes”); Pierce v. Gilchrist, 359 F.3d 1279, 1299 (10th Cir. 2004) (“We have no doubt that, in light

  of these holdings, an official in [a municipal forensic chemist’s] position in 1986 had ‘fair

  warning’ that the deliberate or reckless . . . omission of evidence was a constitutional violation”).

         What plaintiffs’ evidence establishes here is even stronger: the deliberate hiding of


  was apparent in light of “‘pre-existing law.’” Jackler, 658 F.3d at 243 (internal citation omitted,
  emphasis in original).
                                                   12
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 20 of 34 PageID #: 6210




  exculpatory evidence in bad faith. Plaintiffs’ counsel, who routinely litigate these claims around

  the country, are unaware of a single court anywhere ever holding that officers were entitled to

  qualified immunity for such conduct—and defendants have not cited any. The one case they do

  cite, the vacated 1998 Fourth Circuit decision in Jean v. Collins, certainly does not stand for that

  proposition. Jean v. Collins (“Jean I”), 155 F.3d 701 (4th Cir. 1998), rev’d, 526 U.S. 1142

  (1999). As the decision on remand from the Supreme Court makes clear, there was not only no

  evidence of bad faith suppression of evidence in Jean, there was not even enough proof that the

  failure to disclose was more than negligent to make out a § 1983 claim. Jean II, 221 F.3d 656,

  663 (4th Cir. 2000) (“[W]hat occurred here was at worst a negligent miscommunication”

  between the prosecutor and police.); see also Haley, 657 F.3d at 48-51 (finding no qualified

  immunity for officers’ 1972 deliberate suppression of exculpatory evidence from prosecutor,

  even while holding the no-fault duty to disclose impeachment evidence did not clearly extend to

  police in 1972). Even Jean I recognized the viability of Goodwin v. Metts, a 1989 Fourth Circuit

  decision denying qualified immunity to an officer for his 1984 suppression of exculpatory

  evidence from the prosecution (under circumstances supporting a finding of deliberate

  suppression and bad faith). 155 F.3d at 710 n.3. And in any event, Fourth Circuit law does not

  control (as the Jean I court recognized): “[i]f a right is clearly established in this circuit but not in

  another circuit, that conflict will not shield the official from liability.” 155 F.3d at 709.

                  2.      Post-Conviction, Post-Walker

          While essentially conceding that the Brady duties of police were clearly established in the

  Second Circuit by the time of Walker (1992), and in the whole country by the time of Kyles v.

  Whitley (April 19, 1995), defendants cite District Attorney’s Office v. Osborne, 557 U.S. 52, 68-

  69 (2009), in support of the claim that the disclosure duty ends at conviction. (D.E. 223 at 12, n.5



                                                     13
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 21 of 34 PageID #: 6211




  & 14.) But this reading of Osborne is far too broad. In Osborne, unlike this case, the exculpatory

  value of the evidence at issue was speculative; the petitioner was seeking “not exculpatory

  evidence that had been in existence at the time of his original trial” and withheld, Whitlock v.

  Brueggemann, --- F.3d ---, 2012 WL 1939906, at *18 (7th Cir. May 30, 2012), but instead access

  to evidence for DNA testing “that might prove him innocent.” Osborne, 557 U.S. at 72. As the

  Seventh Circuit recently confirmed in Whitlock, Osborne did not change the rule that “Brady and

  its progeny impose an obligation on state actors to disclose [actually] exculpatory evidence that

  is discovered before or during trial. This obligation does not cease to exist at the moment of

  conviction. Otherwise no one could argue a Brady point either on direct appeal or in a [habeas

  petition].” 2012 WL 1939906, at *19 (citations omitted).

         Here, the evidence establishes Volpe not only suppressed exculpatory evidence before

  and during trial, he continued to make affirmative misrepresentations to the prosecution about

  this same exculpatory evidence at key points after trial. In particular, in 1995, after DNA testing

  had excluded Restivo, Halstead and Kogut as the source of the semen found in Theresa Fusco’s

  body, the prosecution seriously considered consenting to the vacatur of Restivo and Halstead’s

  convictions. Volpe, who was in contact with the prosecutors, and knew about the DNA, misled

  them about the evidence, including hiding his own misconduct and the French car/striped jeans

  lead. D31–32,P99. Not knowing about this other exculpatory evidence, the prosecution opposed

  vacatur and plaintiffs lost their motion; plaintiffs would remain wrongly incarcerated for another

  seven years. P100. Again after 2002, when Volpe was specifically asked by new carrying

  detective O’Leary about the forensic report of the French car he had found in the file, Volpe lied

  to O’Leary, telling him he had “looked into it -- checked it every way” and had determined that

  “the car had nothing to do with the homicide.” D31. Volpe never told O’Leary any of the facts



                                                  14
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 22 of 34 PageID #: 6212




  that made the French car exculpatory: such as that the French car was stolen at the same time

  Theresa Fusco went missing, that girls’ striped jeans had been found in the car, or that when

  French notified the Homicide Bureau about his discovery, Nassau County police had brought a

  pair of jeans for French’s sister Lori to examine. As a result, this exculpatory lead remained

  secret for years—through the retrial and acquittal of Kogut and the dismissal of the

  Restivo/Halstead indictment—until discovery in this lawsuit exposed the truth. These actions not

  only establish a claim for a continuation of a malicious prosecution (a claim defendants have not

  moved to dismiss), but also prove independent Brady violations. And given that even defendants

  concede Volpe’s Brady duties were clearly established by 1995, there can be no doubt he is not

  entitled to qualified immunity for these post-conviction suppressions.

  II.    There is a Dispute of Material Fact as to Whether Defendants Conspired with Non-
         County Employees to Violate Plaintiffs’ Constitutional Rights

         Defendants do not dispute that plaintiffs have ample evidence to establish a factual

  conspiracy among the NCPD defendants. As stated above, defendants agree a jury could find

  defendants together engaged in a host of constitutional violations during the Fusco investigation,

  including fabrication of evidence, suppression of exculpatory evidence, and malicious

  prosecution, collectively framing plaintiffs for a rape/murder they did not commit. The only

  question is whether, given this Court’s ruling that the intracorporate conspiracy doctrine applies,

  see D.E. 67 at 32-33,9 plaintiffs have sufficient evidence to establish the participation in this

  conspiracy of at least one non-NCPD actor. See Dunlop v. City of New York, No. 06 Civ.

  0433(RJS), 2008 WL 1970002 at *13-14 (S.D.N.Y. May 6, 2008). Plaintiffs do.




  9
   Plaintiffs respectfully maintain their objection to applying the intracorporate conspiracy
  doctrine to § 1983 claims but recognize it as the law of the case given the Court’s prior ruling.
                                                  15
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 23 of 34 PageID #: 6213




         A § 1983 conspiracy requires: “(1) an agreement between two or more state actors or

  between a state actor and a private entity; (2) to act in concert to inflict an unconstitutional

  injury; and (3) an overt act done in furtherance of that goal causing damages.” Pangburn v.

  Culbertson, 200 F.3d 65, 72 (2d Cir. 1999). “Both the existence of a conspiracy and a given

  defendant’s participation in it with the requisite knowledge and . . . intent may be established

  through circumstantial evidence.” In re Dana Corp., 574 F.3d at 153-59 (internal quotation

  omitted) (reversing summary judgment dismissal of conspiracy claim where, despite the “self-

  serving” denials of participation by all defendants, circumstantial evidence supported the

  claim)10; see also Rounseville v. Zahl, 13 F.3d 625, 632 (2d Cir. 1994) (noting “conspiracies are

  by their very nature secretive operations that can hardly ever be proven by direct evidence”).

  Conspiratorial agreement includes a “tacit understanding”; “[t]here need not be any written

  statement or even a speaking of words which expressly communicates agreement.” U.S. v.

  Sabhnani, 599 F.3d 215, 244 (2d Cir. 2010) (internal quotation and citation omitted); see also

  U.S. v. Henry, 325 F.3d 93, 105 (2d Cir. 2003) (“The mere fact that Panek participated with

  Henry in the suspicious transactions at issue suggests an agreement.”). Once a conspiracy is

  established, participation of another actor in the conspiracy takes “only slight evidence.” See

  U.S. v. Marrapese, 486 F.2d 918 (2d. Cir. 1973).

         A.      There is a Triable Dispute About Whether Defendants Conspired with
                 Witnesses to Concoct False Statements

         The case against Halstead and Restivo was built on two pillars: the planted hair evidence,

  and false statements from various witnesses that they had heard Halstead or Restivo make

  admissions about the Fusco murder. D34. This included evidence from Harry Smyle, Kenneth



  10
    Despite defendants’ focus on the lack of direct testimony (from dead participants) as to the
  existence of the conspiracy, no such direct evidence is required.
                                                 16
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 24 of 34 PageID #: 6214




  Cockerel and Carl Pozzini at the grand jury and Smyle, Steven Dorfman, Brian O’Hanlon, and

  Sam Newsome at trial. P2–43. As ADA Klein characterized all this cooperating witness evidence

  when ultimately moving to dismiss the Restivo/Halstead indictment in 2005:

         we had direct statements that were alleged to have been made to either inmates in the
         Nassau County Jail or drug addicted acquaintances of the defendants, all of whom
         received benefits for their testimony against these two defendants… Moreover, Judge,
         the DNA evidence directly contradicts the admissions that these two defendants were
         supposed to have made to jail inmates and other people getting deals, admissions that
         obviously in the law are inherently suspect because of the source and the benefits that
         were accorded to these people as a result of their testimony.

  P1. But the NCPD defendants knew more than Klein. They knew that the hairs had been planted

  and that an undisclosed lead indicated the true perpetrator had used French’s car, not Restivo’s

  van, to abduct Theresa Fusco. They also knew the suspicious circumstances that lead to each of

  these cooperating witness statements. For example, heroin-addict Brian O’Hanlon, who initially

  truthfully denied he had any information about the Fusco murder, only incriminated Dennis

  Halstead after being interrogated for 10 hours, when he was due for another fix and was heading

  towards withdrawal symptoms. P33–37. In another instance, jailhouse-snitch Sam Newsome

  initially reported that Halstead admitted to him participation in the crime but did not name his

  accomplices; after meeting with Volpe and Connaughton, Newsome signed a statement that

  Halstead had told him he committed the crime with someone named “John”; Newsome received

  benefits in exchange. P38–43. In other words, a reasonable jury could find defendants had ample

  basis to know that this witness evidence was not only “inherently suspect,” it was actually false.

  There is more than sufficient evidence to support a jury finding that individual NCPD defendants

  Volpe, Allen, Sirianni, Perrino and Connaughton, faced with what Homicide’s Commanding

  Officer, Lt. Sean Spillane, deemed a “weak, if nonexistent case” against plaintiffs Restivo and

  Halstead, D28, conspired with each of these cooperating witnesses to violate plaintiffs’



                                                 17
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 25 of 34 PageID #: 6215




  constitutional rights by providing false evidence.11 P2–43. See Zahrey v. City of New York, No.

  98 Civ. 4546 (DCP)(JCF), 2009 WL 54495, at *10 (S.D.N.Y. Jan. 7, 2009) (denying summary

  judgment to police for eliciting false statement from informant who was “at best of questionable

  veracity” and “changed his story over time throughout his repeated interviews”). That is the

  essence of a § 1983 conspiracy. See Pangburn, 200 F.3d at 72. Even if these witnesses were

  pressured to participate in the police conspiracy, that does not prevent them from being co-

  conspirators. See, e.g., U.S. v. Villegas, 899 F. 2d 1324 (2d Cir. 1990); U.S. v Gaviria, 804 F.

  Supp. 476, 477 (E.D.N.Y. 1992). And the participation of just one of these cooperating witnesses

  prevents the application of the intracorporate conspiracy doctrine. See, e.g., Williams v. City of

  Saginaw, Nos. 00–10241–BC, 00–10244–BC, 2002 WL 1798907, at *7 (E.D. Mich. Aug. 6,

  2002) (holding intracorporate conspiracy doctrine did not bar police conspiracy claim “since

  [informant] Wilbert, a non-police officer, is also alleged to be a coconspirator.”).

  III.   There is a Dispute of Material Fact as to Plaintiffs’ Monell Claim

         While acknowledging the existence of a triable dispute of fact as to the underlying

  malicious prosecution and unfair trial claims (both the fabrication and suppression theories),

  defendants contend there is no such dispute on plaintiffs’ claim under Monell v. Dept. of Soc.

  Servs., 436 U.S. 658 (1978). But there is a mountain of evidence these constitutional

  violations—which were committed by more than 10 separate defendants and continued through

  2005—were the predictable result of the County’s failure to supervise and discipline its homicide



  11
     Despite defendants’ attempt to color the allegations, the sponsorship of false witness
  statements is hardly the run-of-the-mill “use of cooperating witnesses”; it is obviously
  unconstitutional. See Pyle, 317 U.S. at 216 (knowing use of false evidence to obtain conviction
  violates Fourteenth Amendment); Mooney, 294 U.S. at 112-13 (same); Zahrey v. Coffee, 221
  F.3d 342, 349 (2d Cir. 2000) (recognizing clearly established constitutional “right not to be
  deprived of liberty as a result of the fabrication of evidence by a government officer acting in an
  investigating capacity.”).
                                                   18
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 26 of 34 PageID #: 6216




  detectives, even after receiving indisputable proof they had engaged in serious misconduct,

  rendering the County liable. See Okin v. Village of Cornwall-on-Hudson Police Dept., 577 F.3d

  415, 439-40 (2d Cir. 2009); Walker, 974 F.2d at 297-98.

         Courts in and out of this Circuit have consistently recognized failure to supervise and

  discipline as a viable theory of Monell liability. See, e.g., Gentile v. County of Suffolk, 926 F.2d 142,

  152 (2d Cir. 1991) (sustaining malicious prosecution claim against governmental entity based on

  county’s failure to properly discipline officers); Fiacco v. City of Rensselaer, 783 F.2d 319, 328-32

  (2d Cir. 1986) (sustaining Monell jury verdict on proof City had a policy of failing to supervise and

  discipline police officers that amounted to deliberate indifference to the officers’ use of excessive

  force); Jeffes v. Barnes, 208 F.3d 49, 62-64 (2d Cir. 2000); Zahra v. Town of Southold, 48 F.3d 674,

  685 (2d Cir. 1995); Batista v. Rodriguez, 702 F.2d 393, 397 (2d Cir. 1983); Brown v. Bryan County,

  219 F.3d 450, 462-63 (5th Cir. 2000) (upholding municipal liability based on failure to train and

  supervise particular officer despite notice of risk he would violate constitutional rights); Beck v. City

  of Pittsburgh, 89 F.3d 966, 974 (3d Cir. 1996) (holding jury could find inadequate procedures for

  investigating civilian complaints caused constitutional violations); Vineyard v. County of Murray,

  990 F.2d 1207, 1212-13 (11th Cir. 1993) (upholding jury verdict that inadequate procedures for

  handling complaints against officers caused constitutional violations).

         The record is plain that NCPD homicide detectives received no supervision. P45–58.

  Homicide’s C.O. during the Fusco investigation, Lt. Spillane, testified in his deposition that he

  did not guide detectives in their work, summing up the Bureau’s attitude toward supervision by

  agreeing that homicide detectives were grownups who did not need hand-holding. P45–46. There

  was no requirement that detectives take notes, much less prepare formal police reports of their

  actions—and thus no feasible way supervisors could supervise homicide investigations. P46,58.



                                                   19
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 27 of 34 PageID #: 6217




  Furthermore, despite this lack of supervision, homicide detectives were essentially untrained.

  P47–52. Every defendant and NCPD employee who was asked acknowledged that training for

  homicide detectives was only “on the job”; the County had no homicide training or written

  policies on the fundamentals of homicide investigation: nothing limiting the conduct or length of

  an interrogation, nothing regarding the offer of benefits or exertion of pressure to suspects or

  informants, nothing on writing police reports, nor anything regarding the duty to document and

  disclose exculpatory evidence. Id.

         Plaintiffs’ police practices expert, Russell Fischer12, opines that this environment, lacking

  any meaningful guidance or oversight, and requiring no contemporaneous documentation of

  investigative acts, was an egregious departure from generally accepted police practices of the

  time. P54–58. It essentially invited homicide detectives to close cases by cutting constitutional

  corners in every aspect of their work: conducting coercive interrogations, manufacturing false

  statements, suppressing the truth and engaging in post-conviction cover-ups. Vann v. City of New

  York, 72 F.3d 1040, 1049 (2d Cir. 1995) (holding that municipality’s “deliberate indifference

  may also be shown through expert testimony that a practice condoned by the defendant

  municipality was ‘contrary to the practice of most police departments’ and was ‘particularly

  dangerous’ because it presented an unusually high risk that constitutional rights would be

  violated.”) (internal citation omitted). That obvious risk, indeed that invitation, was borne out

  here, giving rise to Monell liability. See Okin, 577 F.3d at 439-41; Walker, 974 F.2d at 298

  (finding that lack of police Brady policy supports Monell claim if police withhold Brady material

  from prosecutor).

  12
    Fischer spent 33 years at the Miami Dade Police Department, working at every level up to
  Chief of the Criminal Investigations Division. He has taught police personnel since 1986, been
  an instructor for the International Association of Chiefs of Police (“IACP”) since 2005, and
  worked as a consultant for the U.S. Department of Justice. P53.
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Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 28 of 34 PageID #: 6218




         More importantly, once detectives accepted the invitation to commit serious misconduct,

  and despite the County’s awareness that they had done so, no one disciplined them. P59–101. As

  an initial matter, defendants improperly assume that, in order to hold the County liable, plaintiffs

  must prove the County was deliberately indifferent before 1985. See D.E. 223 at 19. But neither

  plaintiffs’ injury nor defendants’ conduct was limited to 1985; plaintiffs were imprisoned

  continuously for 18 years, and subject to conditions of confinement under pending murder

  charges for 2 ½ more. Defendants took actions to continue the prosecution throughout that time.

  If at any point during that period—including, notably, the time in 1995 when plaintiffs moved

  unsuccessfully to vacate their convictions based on the initial DNA exclusion, and the time in

  2003 when their convictions were vacated based on additional DNA results but the charges were

  not dismissed—a jury could find the County caused plaintiffs’ continuing injury, the Monell

  claim must be tried. But plaintiffs have proof the County was on notice of the specific problems

  in the Fusco investigation long before plaintiffs’ malicious prosecutions finally ended in 2005,

  before their 1986 convictions, and even before their 1985 arrests.13 See, e.g., Amnesty America

  v. Town of West Hartford, 361 F.3d 113, 126 (2d Cir. 2004) (“[M]unicipal liability lies where the

  subordinate’s misconduct is ‘so manifest as to imply the constructive acquiescence of senior



  13
     Nassau County also had notice of serious problems in the department before the Fusco
  investigation ever began. In 1979, the Second Department reversed a manslaughter conviction,
  holding that a 17 year-old homicide suspect’s confession was illegally obtained where Nassau
  County homicide detectives interrogated him while evading his mother’s attempts to contact
  him. People v. Evans, 417 N.Y.S.2d 99 (2d Dept. 1979). Then in 1983, a local judge suppressed
  a criminal defendant’s inculpatory statement because NCPD officers had not provided proper
  Miranda warnings. People v. Valle, 469 N.Y.S.2d 305 (N.Y. Co. Ct. (Nassau County) 1983). As
  a direct result, NCPD Miranda policy changed on February 15, 1984, not because of any
  deficiency in the prior policy as written, but because the opinion “underscored the failure of
  members to adhere to the established procedures.” Unsurprisingly, the new official policy failed
  to correct the unwritten custom. P49. See Monell, 436 U.S. at 691 (finding that unwritten
  municipal practices “could well be so permanent and well settled as to constitute a ‘custom or
  usage’ with the force of law”).
                                                  21
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 29 of 34 PageID #: 6219




  policy-making officials’) (quoting Sorlucco v. NYPD, 971 F.2d 864, 870–71 (2d Cir. 1992)).

         Dempsey and Volpe interrogated John Restivo overnight from March 5-6, 1985. P59.

  During those 20 hours, they isolated him (denying his request for an attorney and refusing him

  phone calls), assaulted him (Dempsey choked him and hit him, knocking him off his chair), and

  pressured him into signing a false statement they drafted incriminating Halstead; in keeping with

  NCPD tradition, they did not administer Miranda warnings. P49,59. Upon his release from

  custody, Restivo immediately contacted attorney Ted Robinson, who called the Homicide

  Bureau to file a complaint about the brutally coercive interrogation and to put them on notice that

  Restivo was represented and therefore could not be questioned again. P60. Det. Dempsey hung

  up on him. Id. Robinson then complained to Spillane, who became “abusive and surly.” P61.

         Robinson then wrote to Police Commissioner Samuel Rozzi complaining the abuse of

  Restivo, the Homicide Bureau’s refusal to entertain his complaint, and the harassment of Dennis

  Halstead and others, including “threats of violence, prolonged detention without being permitted

  a phone call, and coercing statements from these ‘potential witnesses.’” P62. Despite Rozzi’s

  written pledge to investigate, there is no evidence that any such action was ever taken. P63.

  Robinson ultimately filed an Article 78 petition against the Police Commissioner laying out the

  illegal conduct against John Restivo and Dennis Halstead. P64. Not only did the County did not

  discipline the officers, several were recommended for a medal of commendation for their work

  in the Fusco case; this evinces deliberate indifference in the face of actual notice that homicide

  detectives were conducting coercive interrogations and eliciting false statements, evincing

  deliberate indifference. P65–66. As plaintiffs’ expert Fischer opines, “As the result of an

  individual filing a complaint against a member of a police department, for the law enforcement

  agency to not record, investigate and adjudicate that complaint is inconsistent with police



                                                  22
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 30 of 34 PageID #: 6220




  customs and practices at the time this complaint was filed.” Id. See Vann, 72 F.3d at 1049

  (“deliberate indifference may be inferred if the complaints are followed by no meaningful

  attempt on the part of the municipality to investigate or to forestall further incidents.”); Okin, 577

  F.3d at 439-41 (town’s acquiescence to unconstitutional unwritten police customs gave rise to

  Monell liability); Grandstaff v. City of Borger, 767 F.2d 161, 171 (5th Cir. 1985) (“The

  disposition of the policymaker may be inferred from his conduct after the events of that night.”).

         Robinson’s complaints were not the only notice that NCPD detectives had engaged in

  shocking misconduct during the Fusco investigation. At Restivo and Halstead’s trial, their

  lawyers argued that Theresa Fusco’s hairs that Volpe alleged had been found in Restivo’s van

  had actually been planted. Hair experts for both the defense and the prosecution provided

  testimony validating that theory: that based on the presence of post-mortem root banding on

  these hairs, they could not have been left in the van consistent with the prosecution’s timeline.

  P67–70. Yet County authorities never investigated whether Volpe had planted the hair. Id. In

  1995, Nassau County learned that lead Fusco detective Volpe had coerced a false murder

  confession from Robert Moore after a 22-hour interrogation; Nassau County subsequently settled

  a civil suit with Moore. P71–76. In 1997, after a 9-hour interrogation, Robert Dempsey (also

  involved in the Fusco investigation interrogations) elicited a false murder confession from

  Shonnard Lee; in 2004, a jury awarded Lee $750,000 in compensatory damages plus $1.25

  million in punitive damages against Dempsey. P77–87. Defendants effectively concede that

  these incidents, together with the Martinez coerced false confession elicited by other NCPD

  detectives in 2001, support a jury finding of an unconstitutional policy or practice in the NCPD




                                                   23
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 31 of 34 PageID #: 6221




  between 1995 and 2001.14 P71–88. Neither Volpe nor Dempsey was investigated or disciplined.

         Finally, in 1995, and then again in 2001 and 2003, DNA testing established that Halstead,

  Restivo and Kogut were all innocent of the Fusco murder. P89–101,D42. Not only were the

  defendants never disciplined, the NCPD’s reinvestigation never even considered the possibility

  that NCPD officers had committed misconduct during the investigation. P101. See Turpin v.

  Mailet, 619 F.2d 196, 2001 (2d Cir. 1980) (“[W]here senior personnel have knowledge of a

  pattern of constitutionally offensive acts by their subordinates but fail to take remedial steps, the

  municipality may be held liable for a subsequent violation if the superior’s inaction amounts to

  deliberate indifference or to tacit authorization of the offensive acts.”); Griffin v. City of Opa-

  Locka, 261 F.3d 1295, 1308-14 (11th Cir. 2001); Parrish v. Luckie, 963 F.2d 201, 203-06 (8th

  Cir. 1992); Harris v. City of Pagedale, 821 F.2d 499, 504-06 (8th Cir. 1987).

         Deliberate indifference was how the County did business. See Fiacco v. City of

  Rensselaer, 783 F.2d 319, 328, 331-32 (“Whether or not the claims had validity, the very

  assertion of a number of such claims put the City on notice that there was a possibility that its

  police officers had used excessive force,” and thus “the very failure of the City defendants to

  conduct a nonsuperficial investigation into civilian claims” amounted to deliberate indifference.);

  Henry v. County of Shasta, 132 F.3d 512, 519-20 (9th Cir. 1997) (“we reiterate our rule that post-

  event evidence is not only admissible for purposes of proving the existence of a municipal

  defendant’s policy or custom, but is highly probative with respect to that inquiry.”); Bordanero

  v. McLeod, 871 F.2d 1151, 1166–67 (1st Cir. 1989) (same); Chepilko v. City of New York, No.

  06-CV-5491 (ARR)(LB), 2012 WL 398700, at *15 (E.D.N.Y. Feb. 6, 2012) (“Subsequent or



  14
    “Viewed in the light most favorable to Plaintiffs, these incidents involving Moore, Lee and
  Martinez may evidence an unconstitutional policy or practice existing between 1995 and 2001.”
  D.E. 223 at 20.
                                                   24
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 32 of 34 PageID #: 6222




  contemporaneous conduct can be circumstantial evidence of the existence of preceding

  municipal policy or custom.”).

         In short, there is ample evidence for a jury to find that despite clear notice of ongoing

  constitutional violations, Nassau County put its head in the sand, refusing to investigate or

  discipline its homicide detectives for blatantly unconstitutional conduct, and effective ratifying

  their misconduct. See Okin, 577 F.3d at 439-41 (reversing grant of summary judgment on Monell

  claim); Walker, 974 F.2d at 300 (holding that “[i]f Walker can produce some evidence that

  policymakers were aware of a pattern of perjury by police officers but failed to institute

  appropriate training or supervision, his claim can survive summary judgment.”); Ricciuti v.

  N.Y.C. Trans. Auth., 941 F.2d 119, 123 (2d Cir. 1991) (“The inference that a policy existed may,

  however, be drawn from circumstantial proof, such as evidence that the municipality so failed to

  train its employees as to display a deliberate indifference to the constitutional rights of those

  within its jurisdiction, or evidence that the municipality was on notice of but repeatedly failed to

  make any meaningful investigation into charges that police officers had used [conduct] in

  violation of the complainants’ civil rights.”) (citations omitted); see also Woodman v. WWOR-

  TV, Inc., 411 F.3d 69, 84 n.14 (2d Cir. 2005) (Knowledge may be established either through

  proof of actual knowledge or through proof of conscious avoidance or willful blindness).

  Plaintiffs’ Monell claim must be tried.

                                             Conclusion

         For the foregoing reasons, defendants’ partial summary judgment motion to dismiss

  plaintiffs’ Brady claims (Count II) on the basis of qualified immunity, to dismiss the § 1983

  conspiracy claims (Count IV) on the basis of the intracorporate conspiracy doctrine, and to

  dismiss plaintiffs’ Monell claim (Count VI) should be denied.



                                                  25
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 33 of 34 PageID #: 6223




  Dated: July 2, 2012                        Respectfully submitted,
         New York, NY

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                                        26
Case 2:06-cv-06695-JS-SIL Document 241 Filed 07/02/12 Page 34 of 34 PageID #: 6224




                                        Certificate of Service

         I hereby certify that a true and accurate copy of Plaintiffs John Restivo and Dennis
  Halstead’s Memorandum of Law in Opposition to Defendants’ Motion for Partial Summary
  Judgment was served by ECF and UPS on July 2, 2012, upon the following:


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